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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
KERRY VINA,
Plaintiff,
vs. Case No. 8: l 8-cv-2902-T~33TGW
FIRST PREMIER BANK
Defendant.
/

 

DEFENDANT.. FIRST PREMIER BANK’S MOTION TO DISMISS OR.
ALTERNATIVELY. TO STAY ACTION AN]) COMPEL ARBITRATION

Defendant, FIRST PREMIER BANK, by and through undersigned counsel and pursuant to
the Federal Arbitration Act, 9 U.S.C. §l el‘. seq. and M. D. Fla. L. R. 3.01, moves the Court for an
Order Staying this Action and Compelling Arbitration, and in support alleges as follows:

l. On or about November 28, 2018, Plaintift`, KERRY VINA, filed a Complaint
against First Premier Bank alleging violations of the Florida Consumer Collection Practices Act
(“FCCPA”), Florida Statutes §559.55~559.785 and the Telephone Consumer Protection Act,
(“TCPA”), 47 U. S. C. §227.

2. Plaintiff alleges that First Premier Bank violated the FCCPA and TCPA in the
process of collecting a consumer debt arising nom her account With First Premier Bank. Speciiically,
Plaintiff alleges that Defendant improperly made automated collection calls to her cellular telephone
without Plaintiff’ s consent, and further that First Premier Bank Willfully communicated With her
regarding the debt to the extent it can be reasonably expected to harass her.

3. The claims set forth in the Complaint arise out of the First Premier Bank Credit Card

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Contract and Account Opening Disclosures between Plaintiff and First Premier Bank (the
“Cardholder Agreement), a copy of which is attached hereto as Exhjbit “A.” The Cardholder
Agreement, as well as the Initial Diselosures provided to Plaintiff when she applied for her First
Prernier Bank credit eard, provided that any claim arising out of or related to Plaintiff’ s credit card
account, including claims based in contract, tort or statutory law, shall be resolved exclusively by
binding arbitration The Cardholder Agreement provided Plaintiff with the right to opt out of the
arbitration provision by written notice no later than 30 days after her Credit Account was opened
Plaintiff did not exercise his right to opt out of the provision, nor does Plaintiff allege in the
Complaint that she opted out of the provision.
4. The arbitration provision provides as follows:
ARBITRATION AND LITIGA'I`ION

This Arbitration Provision ("Provision") facilitates the prompt and efficient resolution of any
disputes that may arise between you and us. Arbitration is a form of private dispute-resolution in
which persons with a dispute Waive their rights to file a lawsuit, to proceed in court and to a jury
trial, and instead submit their disputes to a neutral third person (an arbitrator) for a binding decision.
You have the right to opt out of this Provision, which means you would retain your right to litigate
your disputes in a court, either before a judge or jury. To exercise your right to opt out you must
provide us with written notice no later than 30 days after your Credit Account is first opened. lf we
do not receive your written notice within that time frame, your rights to opt out will terminate, and
you agree that the provisions of this section will apply.

PLEASE READ THIS PROVISION CAREFULLY. IT PROVIDES THATALL DISPUTES
ARISING OUT OF OR CONNECTED TO THIS CONTRACT SHALL BE RESOLVED BY
BINDING ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO TO COURT. IN
THE ABSENCE OF THIS ARBITRATION AGR_EEMENT, YOU AND WE MAY OTHERWISE
HAVE HAD A RIGHT OR OPPORTUNITY TO BRING CLAIMS IN A COURT, BEFORE A
JUDGE OR JURY AND/OR TO PARTICIPATE IN OR BE REPRESENTED IN A CASE FILED
IN COURT BY OTHERS (]NCLUDING, BUT NOT LIMITED TO, CLASS ACTIONS). EXCEPT
AS OTHERWISE PROVIDED, ENTERING INTO THIS AGREEMENT CONSTITUTES A
WAIVER OF YOUR RIGHT TO LITIGATE CLAIMS AND ALL OPPORTUNITY TO BE
HEARD BY A J`UDGE OR JURY.

Parties and Matters Subject to Arbitration: For purposes of this Provision, "you“ and "us“

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include the employees, parents, subsidiaries, affiliates, beneficiaries, agents and assigns of you and
us. For purposes of this Provision, "Clairn" means any claim, dispute or controversy by either you
or us, arising out ofor relating in any way to this Contract, this Provision (including claims regarding
the applicability, enforceability or validity of this Provision), your Credit Account, any transaction
on your Credit Account and our relationship "Claim" also refers to any interaction or
communication between you and us that occurred prior to or concurrent with entering into this
Contract, including those now in existence, regardless of present knowledge "Clairn" shall refer
to claims of every kind and nature, including, but not limited to, initial claims, counterclaims,
cross-claims and third party claims. All Claims are subject to arbitration, regardless of legal theory
and remedy sought, including, but not limited to, claims based in contract, tort (including negligence,
intentional tort, fraud and fraud in the inducement), agency, statutory law (federal and state),
administrative regulations or any other source of law (including equity).

Agreement to Arbitrate: Any Claim arising out of or relating to this Contract, or the breach of this
Contract or your Credit Account, shall be resolved and settled exclusively and finally by binding
arbitration, in accordance with this Provision. Binding arbitration shall not be required, however, for
collection actions by us relating to your Credit Account. Furthermore, both you and we retain the
right to pursue in a small claims court any Claim that is within that court's jurisdiction, provided the
Claim proceeds on an individual basis. I-Iowever, only a court of law, not an arbitrator, shall
determine the validity and effect of this Provision's prohibition of class arbitration F or any Claims
covered by this Provision, a party who asserted a Claim in a lawsuit in court may elect arbitration
with respect to any Claim subsequently asserted in that lawsuit by any other party.

Voluntarv Waiver of the Right to a Jurv Trial and Class Action Participation: As a result of
this Provision, neither you nor we have the right to litigate any Claim in court or the right to a jury
trial on any Claim, except as provided above. YOU AGREE THAT YOU ARE VOLUNTARILY
AND KNOWINGLY WAIVING ANY RIGHT YOU MAY HAVE TO GO TO COURT OR TO
HAVE A IURY TRlAL. FURTHERMORE, NEITHER YOU NOR WE MAY SERVE AS A
REPRESENTATIVE, A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER
REPRESENTATIVE CAPACITY. SIMILARLY, NEITHER YOU NOR WE MAY PARTICIPATE
AS A MEMBER OF A CLASS OF CLAIMANTS IN A LAWSUIT OF ANY CLAll\/l...

Arbitration Location and Procedure: Any arbitration hearing at which you wish to appear will
take place at a location within the federal judicial district that includes your billing address at the
time the Claim is filed The party bringing the Claim may file its Claim at the American Arbitration
Association ("AAA"), or an arbitration organization mutually agreed upon by the parties The
arbitration organization that is selected will administer the arbitration pursuant to its procedures in
effect at the time of filing, subject to this Provision. If you do not agree to file your claim with AAA,
and the parties cannot agree on an alternative arbitration organization, an arbitrator will be appointed
by a court pursuant to the Federal Arbitration Act. ln the event of a conflict or inconsistency between
the respective organizations rules and this Provision, this Provision shall govern. The arbitration will
be conducted before a single arbitrator, whose authority is limited solely to individual Claims
between you and us. The arbitration will not be consolidated with any other arbitration proceeding
Any decision rendered in such arbitration proceeding will be final and binding on the parties and

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judgment may be entered in a court of competent jurisdiction The rules and forms ofAAA may be
obtained as follows: Arnerican Arbitration Association, (1-800-778-7879), 335 Madison Avenue,
Floor 10, New York, NY 10017, website at www.adr.org.

5. The Initial Disclosures provided to Plaintiff at the time she applied for the credit
card provided: “[l]f you are issued a credit Card, your Credit Card Contract will contain a binding
Arbitration Provision. ln the event of any dispute relating to your Credit Card Contract, the dispute
will be resolved by binding arbitration pursuant to the rules of the American Arbitration Association
or an arbitration organization mutually agreed upon by the parties.” A copy of the Initial Disclosure
is attached hereto as Exhibit “.B”

6. Plaintiff became bound to the terms of the Cardholder Agreement, and specifically

the arbitration provision, when she applied for the credit card online and later when she received and
used the credit card under Florida and federal law. Krutchik vsl Chase Bank USA. N.A., 531 F.
Supp. 2d 1359, 1364 (S.D. Fla. 2008); see also Tavlor vs. First North American National Bank 325
So. 2d 1304, 1313 (2004). As provided in the Cardholder Agreernent:
“ Effective Date: Unless you are a resident of the State ofNew York, this Contract is effective upon
the earlier of (l ) the first Purchase made or Cash Advance taken on your Credit Account, and (2) the
expiration of 30 days from the date we issue the Card to you if you do not provide us written notice
of your desire to cancel within this 30 days.

7. The mandatory arbitration provision in this action is broad and includes Plaintiff`s
claims Pursuant to the Federal Arbitration Act and Florida and Federal law, the Court should grant
this Motion and compel arbitration of Plaintiff’s claims.

8. Pursuant to Local Rule 3.01(g), counsel has conferred with Plaintiff` s counsel
regarding the issues in this motion, but as of the date of filing this motion, the parties were not in

agreement to submit this matter to arbitration

WHEREFORE, Defendant, FIRST PREMIER BANK, respectfully requests that the Court

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enter an Order Compelling Arbitration, as well as any other and further relief which the Court deems
just and proper.
MEMORANDUM OF LAW
I. STANDARD

The Federal Arbitration Act (“FAA”) mandates that all arbitration agreements (with limited
exceptions not pertinent here) “shall be valid, irrevocable, and enforceable, save upon grounds as
exist at law or in equity for the revocation of any contract.” 9 U. S. C. §2. lt is well-settled that the
FAA reflects a strong federal policy favoring the enforceability of arbitration agreements
E CompuCredit CorD. vS. Greenwood, 132 S. Ct. 665, 669 (2012) (Noting that “section 2 of the
FAA establishes a ‘liberal federal policy favoring arbitration agreements”’). 'l`he purpose behind the
FAA is to “ensure judicial enforcement of privately made agreements to arbitrate.” Obremski vs.
SpringleafFinancial Serivces, lnc., 2012 WL 3264521 (2012) (quoting Dean Witter Revnolds, lnc.
v_sjyrd, 470 U. S. 213, 219, 105 S. Ct. 1238, 84 L.Ed.2d 158 (1985). Thus the courts must
“rigorously enforce” agreements to arbitrate I_d_.

In considering a motion to compel arbitration, a district court must consider three factors,
including: “( 1) whether a valid agreement to arbitrate exists; (2) whether an arbitrable issue exists;
and (3) whether the right to arbitrate was waived.” Shea vs. BBVA Compass Bancshares, lnc., 2013
WL 869526 (S.D. Fla. 2013) (quoting lntegrated Security Servs. vs. Sl<idata, lnc., 609 F.Supp. 1323,
1324 (S.D. Fla. 2009). These elements are the same under Florida state law. §§ Reeves vs. Ace
Cash Express, 937 So. 2d 1136, 1137 (Fla. 2d DCA 2006); Maguire vs. King, 917 So. 2d 263, 265-
66 (Fla. 5th DCA 2005). Claims that a creditor violated the TCPA and FCCPA in the collection of

a debt are subject to valid and enforceable arbitration clauses. §e_e Owings vs. T-Mobile USA, Inc.,

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978 F. Supp. 2d l2l 5 (M.D. Fla. 2013). Although a credit card contract is not signed by both parties
to the agreement, a consumer becomes bound to the terms of the agreement when the consumer
receives and uses the credit card. Krutchik vs. Chase Bank USA, N.A.. 531 F. Supp. 2d 1359, 1364
(S.D. Fla. 2008); see also Tavlor vs. First North American National Bank 325 F. Supp. 2d 1304,
1313 (M.D. Ala. 2004).
II. ARGUMENT

A. THERE IS A VALID AGREEMENT T() ARBITRATE BETWEEN THE PARTIES

A valid agreement to arbitrate all disputes exists between the parties in this action. Plaintiff
was provided with the Initial Disclosures at the time she applied for the credit card. Those
disclosures provided that, in the event Plaintiff was issued a card, any dispute relating to her credit
card agreement and account would be subject to binding arbitration When Plaintiff was issued the
account and credit card, she was provided with the Cardholder Agreement, which confirmed that all
claims of any kind or nature would be subject to binding arbitration with the AAA, or an arbitration
organization agreed upon by the parties Upon her failure to opt out of the arbitration provision in
accordance with the terms of the agreement, and use of the credit card without cancelling the account
within 3 0 days according to terms of the Cardholder Agreement, Plaintiff became bound to the terms
of the Cardholder Agreement and arbitration provision.

B. AN ARBITRABLE ISSUES EX_ISTS IN THIS MAT'I`ER, AS THE ARBITRATION
PROVISION CLEARLY APPLIES TO THE CLAIMS ALLEGED BY PLAINTIFF

The arbitration provision in the Cardholder Agreement is extremely broad and covers all
“claims of every kind and nature,” and “regardless of legal theory and remedy sought, including, but
not limited to, claims based in contract, tort (including negligence, intentional tort, fraud and fraud

in the inducement), agency, statutory law (federal and state).... or any other source of law.... Any

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claim arising out of or relating to this Contract, or the breach of this contract or your Credit Account,
shall be resolved and settled exclusively and finally by binding arbitration, in accordance with this
provision.” §§ Exhibit “A.” The Complaint’ s allegations of statutory law violations of the FCCPA
and TCPA arise out of the Cardholder Agreement and the Credit Account and the collection efforts
on the account

The presumption of arbitrability, created by the mere existence of an arbitration clause, can
be overcome only if “it may be said with positive assurance that the arbitration clause is not
susceptible ofan interpretation that covers the asserted dispute Doubts should be resolved in favor
ofcoverage.” AT & T Techs., Inc. vs. Communications Workers ofAm., 475 U.S. 643, 650 (1986)
(quoting United Steelworkers vs. Warrior & GulfNaviaation Co.. 363 U.S. 5 74, 582~83 (1960).
Furthei'rnore, in order to exclude a claim from arbitration, there must be an express provision within
the original contract between the parties that excludes a particular grievance _S_ee _U_n@
Steelworkers, 363 U.S. at 584-85.

Here, the arbitration provision committed both parties to arbitrate “claims of every kind and
nature” “arising out of or relating to” the Cardholder Agreement or Plaintiff`s Credit Account. As
such, the provision is clearly applicable to Plaintiff`s TCPA and FCCPA claims in this matter. W
Shea vs. BBVA Comoass Bancshares. lnc.. 2013 WL 869526 (S.D. Fla. 2013); M Owings vs.

T~Mobile USA lnc., 978 F. Supp. 2d 1215 (M.D. Fla. 2013) (finding that consumer’s TCPA and

 

FCCPA claims fall within the scope of arbitration clause in credit service agreement because they
are “directly tied to the collection of charges set forth in the Seivice Agreement.”); see also

Obremski vs. Snringleaf` Financial Serivces. Inc., 2012 WL 3264521 (2012) (f`rnding that claims

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regarding collection efforts by a creditor alleged to violate the FCCPA and TCPA “arise from” or
“relate to” the credit agreement for purposes of evaluating and applying an arbitration provision).

ln the present action, Plaintiff’s claims arise from and relate to the Cardholder Agreement
and Plaintiff’s Credit Account and the relationships and dealings which result from the Agreement
lt should be noted that the FCCPA defines “debtor” or “consuiner” as “any natural person obligated
or allegedly obligated to pay any debt.” Florida Statute §559.55(2). Standing to state a cause of
action under the FCCPA is provided to the person liable for the debt on the Agreement which creates
the servicing obligation and contains the arbitration provision. Thus, Plaintiff’s standing is derived
from her status under the Cardholder Agreement S_ee Reeves vs. Ace Cash Exnress. 937 So. 2d
1136, 1137 (Fla. 2d DCA 2006) (holding that FCCPA claims are not excluded from arbitration as
a matter of law, and they are not distinct from and excluded from a contract’s arbitration provision
because of public policy). Plaintiff’s FCCPA and TCPA claims are clearly arbitrable under federal
and Florida law.
C. FIRST PREMIER BANK HAS NO'I` WAIVED ITS RIGHT TO ARBITRATE

The right to arbitrate has in no way been waived by First Premier Bank, and First Premier
Bank has not acted in any manner inconsistent with hits right to arbitrate Rather, First Premier Bank
is invoking its right to arbitration at the first possible instance in response to Plaintif`f’ s Complaint,
has not engaged in any discovery on the merits or otherwise acted inconsistently with the right to
arbitrate this dispute lt is well-settled that public policy favors arbitration of disputes “because it is
efficient and avoids the time delay and expense associated with litigation.” Regency Group lnc. vs.
McDaniels, 647 So. 2d 192, 193 (Fla. ls‘ DCA 1994). Thus, when a court must decide whether a

particular dispute is subject to arbitration, all doubts about the scope of the agreement should be

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resolved in favor of arbitration ld; see also The Hillier Grour). lnc. vs. Torcon. lnc.. 932 So. 2d 449,

 

453 (Fla. 2d DCA 2006) (recognizing Florida’s strong public policy in favor of arbitration).
D-MCLM
The Court should respectfully compel the arbitration of this matter based on the First Premier
Bank Cardholder Agreement and allegations of the Complaint The parties will submit an Agreed

Order or Stipulation to Stay this action pending the outcome of the arbitration

Respectfully submitted,

/s/ Charles W. Derinv. IV

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Attorneys for Defendant, First Premier

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CERTIFICATE OF SERVICE
il-IEREBY CERTIFY that on December al .:'{'2018 1 electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

counsel of record. On this same date, a copy of the foregoing has also been provided by U.S. Mail

to counsel for Plaintiff, l on P. Dubbeld, Esquire, 4900 Central Avenue, St. Petersburg, FL 33707.

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/s/ Charles W. Dennv. IV

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